  

Case 8:16-cr-00036-CJC Document 2 Filed 03/24/16 Pagelof2 Page ID#:4
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CASE SUMMARY

 

Case Number C A ie 6 == ( 0 4 6 Defendant Number ONE

U.S.A. v. NIKISHNA POLEQUAPTEWA

 

Indictment [_] Information

 

Yearof Birth 1968

 

Investigative agency (FBI, DEA, etc.) FBI

NOTE: All items are to be completed. Information not applicable or unknown shall be indicated as SN/A." °

OFFENSE/VENUE

a. Offense charged asa:

[_] Class A Misdemeanor [_] Minor Offense [] Petty Offense
[_] Class B Misdemeanor —[_] Class C Misdemeanor [¥] Felony

b. Date of Offense Onor about November 18, 2014
c. County in which first offense occurred ©

 

Orange

 

d. The crimes charged are alleged to have been committed in:
CHECK ALL THAT APPLY

[_] Los Angeles

Orange
[_] Riverside
[_] San Bernardino

[_] Ventura

[_] Santa Barbara

[_] San Luis Obispo

CJ Other

Citation of Offense 18 U.S.C. §§ 1030 (a)(5)(A), (c)(4)(B)(i),
(c)(4)(A)()(1)

 

RELATED CASE

Has an indictment or information involving this defendant and
the same transaction or series of transactions been previously
filed and dismissed before trial? No [_] Yes

IF YES Case Number

 

Pursuant to General Order 14-03, criminal cases may be related

if a previously filed indictment or information and the present

case:

a. arise out of the same conspiracy, common scheme,
transaction, series of transactions or events; or

b. involve one or more defendants in common, and would
entail substantial duplication of labor in pretrial, trial or
sentencing proceedings if heard by different judges.

Related case(s), if any: MUST MATCH NOTICE OF RELATED

CASE

 

 

 

 

 

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PREVIOUSLY FILED COMPLAINT ae KN

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Wx

A complaint was previously filedion: SNIZBo = “Ti
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The complaint: CJ

 

_] was dismissed on:

 

PREVIOUS COUNSEL

[_] Yes

Was defendant previously represented? No

IF YES, provide, Name:

 

Phone Number:

 

COMPLEX CASE

Are there 8 or more defendants in the Indictment/Information?
[_] Yes* [¥] No

Will more than 12 days be required to present government's
evidence in the case-in-chief?

[_] Yes* No

*AN ORIGINAL AND 1 COPY (UNLESS ELECTRONICALLY FILED)
OF THE NOTICE OF COMPLEX CASE MUST BE FILED AT THE
FE THE INDICT MEST IS FILED IF EITHER "YES" BOX IS

Superseding Indictment/Information

IS THIS A NEW DEFENDANT? [_] Yes No
This isthe N/A superseding charge, i.e. 1st, 2nd.
The superseding case was previously filed on:

 

Case Number
The superseded case:

 

[_] is still pending before Judge/Magistrate Judge

 

| was previously dismissed on

 

Are there 8 or more defendants in the superseding case?
[_] Yes* [] No

Will more than 12 days be required to present government's
evidence in the case-in-chief?

L_] Yes* [_] No

 

CR-72 (06/14)

CASE SUMMARY

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CASE SUMMARY

 

Was a Notice of Complex Case filed on the Indictment or
Information?

[_] Yes No

*AN ORIGINAL AND 1 COPY OF THE NOTICE OF COMPLEX CASE
MUST BE FILED AT THE TIME THE SUPERSEDING INDICTMENT 15
FILED IF EITHER "YES" BOX IS CHECKED.

Is an interpreter required? [| YES NO
IF YES, list language and/or dialect:

 

OTHER
Male [_] Female
["] US. Citizen [_] Alien

Alias Name(s)

 

 

All counts

This defendant is charged in:
| Only counts:

 

[_] This defendant is designated as "High Risk" per
18 USC § 3146 (a)(2) by the U.S. Attorney.

[_] This defendant is designated as "Special Case" per
18 USC § 3166 (b)(7).
Is defendant a juvenile? [] Yes No

IF YES, should matter be sealed? [_] Yes [-] No
The area of substantive law that will be involved in this case

includes:

["] financial institution fraud [] public corruption

[_] government fraud [_] tax offenses
[_] environmental issues [-] mail/wire fraud
[_] narcotics offenses [_] immigration offenses
[_] violent crimes/firearms [_] corporate fraud

Other Fraud and related activity in connection with

 

Computers

 

CUSTODY STATUS

Defendant is notin custody:

a. Date and time of arrest on complaint: N/A
b. Posted bond at complaint level on:

in the amount of $

 

c. PSA supervision? [] Yes [] No

d. Is on bail or release from another district:

 

Defendant is in custody:

a. Place of incarceration:

[_] State [_] Federal

b. Name of Institution: N/A

 

c. If Federal: U.S. Marshal's Registration Number:

 

d.{_] Solely on this charge. Date and time of arrest:

 

e. On another conviction: [_] Yes [-] No
IFYES: [_] State [] Federal [_] Writ of Issue
f. Awaiting trial on other charges: : [] Yes [-] No
IFYES:  [—] State [_] Federal AND

Name of Court:

 

Date transferred to federal custody:

This person/proceeding is transferred from another district

pursuant to F.R.Cr.P. 20 21 40

 

EXCLUDABLE TIME

Determinations as to excludable time prior to filing indictment/information. EXPLAIN:

 

 

ML
ATL |

 

 

 

 

Dat
are Signature/o Assistant U.S. Attorney
JOSHUA M. ROBBINS
Print Name
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